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 2
 3                                  UNITED STATES DISTRICT COURT
 4                                          DISTRICT OF NEVADA
 5
 6   UNITED STATES OF AMERICA,                 )
                                               )                  Case No. 2:11-cr-00347-KJD-CWH
 7                     Plaintiff,              )
                                               )                  ORDER
 8   vs.                                       )
                                               )
 9   JASON C. SMITH, R.PH.,                    )
                                               )
10                     Defendant.              )
     __________________________________________)
11
12           On May 23, 2016, the Court issued an Order to Show Cause (ECF No. 244) as to attorney
13   Thomas C. Michaelides. Since that time, Mr. Michaelides filed a withdrawal of his motion to
14   withdraw as counsel (ECF No. 245) and a response to the order to show cause (ECF No. 250). The
15   Court is satisfied with Mr. Michaelides’s response to the order to show cause and therefore will
16   vacate the show cause hearing set for June 1, 2016, at 3:00 p.m. It is the Court’s expectation that
17   Mr. Michaelides and Defendant Jason C. Smith will communicate on a regular basis and work
18   together to prepare for the trial in this matter.
19           IT IS THEREFORE ORDERED that the Order to Show Cause (ECF No. 244) is
20   DISCHARGED.
21           IT IS FURTHER ORDERED that the show cause hearing set for June 1, 2016, at 3:00 p.m.
22   is VACATED.
23           IT IS FURTHER ORDERED that Mr. Michaelides must inform Defendant Jason C. Smith
24   that the show cause hearing set for June 1, 2016, at 3:00 p.m. is vacated.
25           DATED: May 31, 2016.
26
27
                                                     ______________________________________
28                                                   C.W. Hoffman, Jr.
                                                     United States Magistrate Judge
